
By the Court.
The objection was not taken below; had the justice tried the cause out of his county, the fact could easily have been made to appear. The objection is founded on too much refinement, when applied to justices’ courts.
It was then contended that the judgment ought to be reversed on another ground, to wit: that the plaintiffs below did not produce, on the trial, the probate of the will of their testator, although called on for that purpose. This fact appeared on the record; the justice stating that he did not consider it necessary, as [*] the defendant had, in his plea filed with him, acknowledged the plaintiffs as executors; he had treated them as such in his plea.
By the Court.
This point was determined in the case of Brokaw, executor, v. Decker, State Reports, 2311
It was then contended that the justice had rendered judgment in favor of the plaintiffs for the costs of the defendant; as to which, it appeared that the justice, in stating the sum found by the jury, adds these words : defendants costs is six dollars and nine cents; and then proceeds to render judgment for the debt found by the jury, and six dollars and nine cents costs.
By the Court.
As judgment was rendered [547] but for one bill of costs only, it is fairly to be presumed that the justice meant by defendants costs the costs which the defendant was to pay; the costs that were adjudged against the *316defendant were not the costs which he himself expended, but the costs of the plaintiff; at least it does not satisfactorily appear to the contrary.
Judgment affirmed.

 S. P. 2 Dal. 100; S Day's Bep. SOS,

